GOLDSTEIN HALL PLLC
Attorneys for Plaintiff
Riseboro Community Partnership Inc.,
formerly known as Ridgewood Bushwick
Senior Citizens Council, Inc.
80 Broad Street, Suite 303
New York, New York 10004
(646) 768-4127
BY: Brian J. Markowitz (BM-9640)
       bmarkowitz@goldsteinhall.com

        Daniel Goldenberg (DG-1337)
        dgoldenberg@goldsteinhall.com

UNITED STATE DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------------------------x
RISEBORO COMMUNITY PARTNERSHIP INC.,
formerly known as RIDGEWOOD BUSHWICK SENIOR
CITIZENS COUNCIL, INC.,                                                     Docket No. 18-cv-07261 (RJD)

                                                             Plaintiff,

                              -against-

SUNAMERICA HOUSING FUND NO. 682, SLP
HOUSING I, LLC, 420 STOCKHOLM STREET
ASSOCIATES L.P.,

                                                          Defendants.
------------------------------------------------------------------------x

                            RISEBORO COMMUNITY PARTNERSHIP
                               INC.’S MEMORANDUM OF LAW IN
                           SUPPORT OF ITS MOTION TO REMAND TO
                                        STATE COURT
                                                   TABLE OF CONTENTS

TABLE OF CONTENTS ................................................................................................................. I

TABLE OF AUTHORITIES .......................................................................................................... II

PRELIMINARY STATEMENT .................................................................................................... 1

STATEMENT OF FACTS AND PROCEDURAL HISTORY...................................................... 2

ARGUMENT .................................................................................................................................. 4

          POINT I FEDERAL QUESTION JURISDICTION OVER RISEBORO’S CAUSES OF
               ACTION DOES NOT EXIST ................................................................................ 4

                     A. No Federal Claim is Asserted .......................................................................... 6

                     B. No “Actually Disputed” Federal Issue is “Necessarily
                        Raised” by Plaintiffs’ Causes of Action .......................................................... 7

                     C. The Instant Action Does Not Present Any Substantial
                        Federal Issues .................................................................................................. 9

                     D. The Exercise of Jurisdiction Would Disrupt the
                        Federal State Balance .................................................................................... 13

          POINT II COMPLETE DIVERSITY DOES NOT EXIST IN THIS ACTION AND
               THEREFORE THE ACTION CANNOT BE REMOVED BASED ON
               DIVERSITY ......................................................................................................... 14

CONCLUSION ............................................................................................................................. 16




                                                                     -i-
                                          TABLE OF AUTHORITIES

Cases

Allied Programs Corp. v. Puritan Insurance Co., 592 F.Supp. 1274, 1276 (S.D.N.Y.1984) ...... 15

Caterpillar Inc. v. Williams, 482 U.S. 386, 391-93 (1987) ............................................................ 5

Ceglia v. Zuckerberg, 772 F.Supp.2d 453, 455 (W.D.N.Y. 2011) ............................................... 14

Curtin v. Port Authority of N.Y., 183 F. Supp. 2d 664, 667 (S.D.N.Y. 2002) ................................ 5

CWCapital Cobalt VR Ltd. v CWCapital Investments LLC, 17 CIV. 9463 (GBD), 2018 WL
 2731270, at 3 (SDNY May 23, 2018) ........................................................................... 7, 8, 9, 10

Doctor's Assocs., Inc. v. Distajo, 66 F.3d 438, 445 (2d Cir. 1995) .............................................. 14

Franklin H. William Trust v. Travelers Ins. Co., 50 F.3d 144, 147 (2d Cir. 1995) ........................ 4

Grable & Sons Metal Prods., Inc. v. Darue Eng'g & Mfg., 545 U.S. 308, 313 (2005) .......... 4, 8, 9

Great Northern Ry. Co. v. Alexander, 246 U.S. 276, 282 (1918)................................................... 6

Grimo v. Blue Cross/Blue Shield, 34 F.3d 148, 151 (2nd Cir. 1994) ............................................. 5

Gunn v. Minton, 133 S. Ct. 1059, 1064-65 (2013) ................................................................. 3, 4, 5

Hallingby v. Hallingby, 574 F.3d 51, 56 (2d Cir. 2009) ............................................................... 14

Liana Carrier Ltd. v. Pure Biofuels Corp., 672 F. App'x 85, 92, Fed. Sec. L. Rep. P 99470, 2016
  WL 7107481 (2d Cir. 2016) (summary order).............................................................. 11, 13, 14

Merrell Dow Pharms. Inc. v. Thompson, 478 U.S. 804 813 (1986) ............................................... 9

Merrill Lynch, Pierce, Fenner & Smith Inc. v. Manning, 136 S. Ct. 1562, 1569–70 (2016) ......... 4

N.Y. ex rel. Jacobson v. Wells Fargo Nat'l Bank. N.A., 824 F.3d 308, 315–16 (2d Cir. 2016) ...... 7

New York State Ins. Fund v. U.S. Liability Ins. Co., 2004 WL 385033 at 2 ................................. 15

Pampillonia v. RJR Nabisco, Inc., 138 F.3d 459 (2d Cir.1998) ................................................... 15

PCVST Mezzco 4, LLC v. Wachovia Bank Commercial Mortgage Trust 2007-C30, No. 14 Civ.
  6023 (AJN), 2015 WL 153048, at 3 (S.D.N.Y. Jan. 12, 2015)................................................... 5

Phillips Petroleum Co. v. Texaco, Inc., 415 U.S. 125, 127-28 (1974) ........................................... 6

Schulthis v. McDougal, 225 U.S. 561, 569 (1912) ......................................................................... 5




                                                            -ii-
Somlyo v. J. Lu-Rob Enter., Inc., 932 F.2d 1043, 1045-46 (2d Cir. 1991) ..................................... 5

Stamm v. Barclays Bank of N.Y. No. 96 Civ. 5158 (SAS), 1996 WL 614087, at 1 (S.D.N.Y.
  1996) ........................................................................................................................................... 5

Sty–Lite Co. v. Eminent Sportswear Inc., 115 F.Supp.2d 394, 398 (S.D.N.Y. 2000) .................. 15

Taylor v. Anderson, 234 U.S. 74, 75-76 (1914) .............................................................................. 6

Truglia v. KFC Corp., 692 F.Supp 271, 275 (S.D.N.Y. 1988) ..................................................... 15

United Food & Commercial Workers Union. Local 919 AFL-CIO v. CenterMark Properties
  Meriden Square, Inc., 30 F.3d 298, 301 (2d Cir. 1994).............................................................. 5

Varga v. McGraw Hill Fin., Inc., 36 F. Supp. 3d 377, 382 (S.D.N.Y. 2014) ............................. 7, 9

Veneruso v. Mount Vernon Neighborhood Health Ctr., 933 F. Supp. 2d 613, 622, 2013 WL
  1187445 (S.D.N.Y. 2013) ....................................................................................................... 8, 9

Statutes

26 U.S.C. § 42 ........................................................................................................................ passim

28 U.S.C. § 1331 ............................................................................................................................. 1

28 U.S.C. § 1332(c) ...................................................................................................................... 14

28 U.S.C. § 1340 ............................................................................................................................. 1

28 U.S.C. § 1367 ............................................................................................................................. 2

28 U.S.C. § 1447(c) ........................................................................................................................ 2

Rules

U.S. Gov’t Accountability Off., Gao-15-330, Low-Income Housing Tax Credit: Joint IRS-HUD
  Administration Could Help Address Weaknesses In Oversight 1 N.1 (2015) .......................... 12

Treatises

13D C. Wright, A. Miller, E. Cooper, & R. Freer, Federal Practice and Procedure § 3562, pp.
  175–176 (3d ed. 2008) ................................................................................................................ 3

14B Charles Alan Wright, et al., Federal Practice & Procedure § 3721....................................... 6

Brandon M. Weiss, Residual Value Capture in Subsidized Housing, 10 Harv L & Pol'y Rev 521,
  534 (2016) ................................................................................................................................. 12




                                                                        -iii-
                                PRELIMINARY STATEMENT

                 Plaintiff Riseboro Community Partnership Inc., formerly known as Ridgewood

Bushwick Senior Citizens Council, Inc., (“Riseboro”), by their attorneys, Goldstein Hall PLLC,

respectfully submits this memorandum of law in support of Riseboro’s motion for an Order,

pursuant to 28 U.S.C. § 1447(c), remanding the instant action back to the New York State Supreme

Court, Kings County (“State Court”), on the grounds that, the action does not present any federal

questions and the parties are not diverse.

                 Riseboro commenced this action on November 15, 2018 in State Court to secure

declaratory judgments as to the interpretation of a contract that is expressly governed by New York

State law, along with legal and equitable relief arising out of Sunamerica Housing Fund 682

(“SunAmerica”) and SLP Housing I, LLC’s (“SLP”) (collectively, “Defendants”) breaches of the

contract. On December 20, 2018, Defendants filed a Notice of Removal, removing the proceeding

to this Court.

                 Defendants Notice of Removal relies on four statutes, two cases, and a few dozen

out-of-context quotes in a superficial attempt to demonstrate that this Action involves a federal

question and there is complete diversity amongst the parties. Nothing can be further from the truth

and this Court should not be persuaded. Not only have Defendants utterly failed to bear their

substantial burden of proof by virtue of their Notice of Removal’s perfunctory legal analysis, this

action simply does not “fit within the special and small category” of cases which are suitable for

removal.

                 Just as merely involving federal statutes in a complaint does not automatically

create a basis for removal pursuant to 28 U.S.C. § 1331, involving a federal tax credit framework

does not automatically create a basis for removal pursuant to 28 U.S.C. § 1340 either. As will be

discussed, neither of the foregoing statutes’ applicability has been justified (they cannot be) in a
manner that either satisfies Defendants’ burden of proof to remove this Action or in a manner that

justifies a departure from well-established federal law – both nationally and as adopted by this

circuit.

               Likewise, but even more apparently, Defendants fail to bear their heavy burden of

proving by clear and convincing evidence that this Court should disregard the citizenship of a non-

diverse party, 420 Stockholm L.P. (the “420 LP”). Considering that 420 LP is the owner of the

property which Riseboro hopes to purchase via specific performance, the pleadings expressly state

that LP’s “interest will be affected by the outcome of this action.” As such, 420 LP has a real

connection to the action and must be considered for purposes of diversity.

               Finally, Defendants attempt to rely on 28 U.S.C. § 1367, in an undeveloped attempt

to preserve an argument for supplemental jurisdiction. Tellingly, besides citing the statute twice,

Defendants made no effort to elaborate as to the parameters, or more importantly the basis, of this

supposed supplemental jurisdiction. Here, because supplemental jurisdiction could only derive

from the alleged federal question jurisdiction, no such supplemental jurisdiction exists.

               This Action concerns the interpretation of a contract which is expressly governed

by New York State law and no interpretation of this Contract raises a federal issue, it merely

invokes a federal statute to analyze manifestly state law claims.

               Because federal jurisdiction does not exist here, remand is mandatory. See 28

U.S.C. § 1447(c) (“If at any time before final judgment it appears that the district court lacks

subject matter jurisdiction, the case shall be remanded”). Plaintiffs are also entitled to attorneys'

fees and costs associated with Defendants’ improvident removal.

                STATEMENT OF FACTS AND PROCEDURAL HISTORY

               This action concerns the interpretation of a contractual right of first refusal (the

“ROFR”) granted to RiseBoro (or its designee) in the Amended and Restated Agreement of


                                                 -2-
Limited Partnership of the 420 LP (the “Restated Agreement”). The ROFR grants Riseboro the

right to purchase a low-income housing tax credit (“LIHTC1”) project located at 420 Stockholm

Street, Brooklyn New York (the “Apartment Complex”) from the LP after the end of the 15 year

Compliance period2 pursuant to Section 12.03 of the Agreement. Upon the expiration of the

Compliance period, Riseboro informed the Defendants that it intended to exercise the ROFR and

the Defendants refused, stating that Riseboro cannot exercise the ROFR unless Defendant, SLP

consents to such a purchase and that, Riseboro cannot exercise its ROFR unless a bona fide third

party offer is made and the Defendants are willing to sell. Fundamentally, the instant action seeks

a declaratory judgment that the Restated Agreement neither contains limiting nor consenting

requirements for Riseboro to exercise its ROFR and, moreover, the ROFR must be read in the

context of the Restated Agreement and not a typical common law ROFR.3.

                  Unable to resolve the disagreement, Riseboro commenced this Action and asserted

four causes of action: (i) declaratory relief for an order declaring that, inter alia, no condition

precedent, other than the end of the 15 year Compliance period pursuant to the Restated

Agreement’s Section 12.03, is required for Riseboro to exercise its ROFR; (ii) declaratory relief



1
     The LIHTC provision of the Internal Revenue Code, 26 U.S.C. § 42 (“Section 42”) is a program that leverages
private sector underwriting and investment, to develop and perpetuate low-income housing, through the utilization of
certain tax credits. Typically, the deals involve a developer (here, Plaintiff) and an investment partner (here,
Defendants) which enter into a limited partnership to own the Project (here, 420 LP). In exchange for 99% of the tax
credits, the investment partner makes a series of capital contributions to finance the project.

2
     As set forth in the Complaint, the Compliance Period refers to that period of time that the investment partner can
utilize the tax credits, specifically, for 15 years, so long as the project complies with affordability restrictions.
3
  It is from this point that Defendants’ Notice of Removal extracted so many of its quotes; the Complaint merely
informed the reader of the nature of the Restated Agreement and the statutory context from which the Restated
Agreement was born. Defendants’ list of quotes is misleading and detracts from the already nuanced federal question
analysis. See Gunn v. Minton, 133 S. Ct. 1059, 1064-65 (2013) (“In outlining the contours of this slim category, we
do not paint on a blank canvas. Unfortunately, the canvas looks like one that Jackson Pollock got to first. See 13D C.
Wright, A. Miller, E. Cooper, & R. Freer, Federal Practice and Procedure § 3562, pp. 175–176 (3d ed. 2008)
(reviewing general confusion on question)”).



                                                          -3-
for an order declaring that, inter alia, the ROFR provided and pursuant to the Restated

Agreement’s Section 12.03 is not a right of first refusal which is to be construed solely under New

York law, but must be instead consistent with the LIHTC statutory scheme; (iii) a judgment

directing Defendants to specifically perform all of their obligations and sell the Apartment

Complex to Riseboro; and (iv) money damages in an amount to be determined at trial, but believed

to be no less than $10,000,000.00 against each of the Defendants for breaching the Restated

Agreement.

                                           ARGUMENT

                                              POINT I

                       FEDERAL QUESTION JURISDICTION OVER
                       RISEBORO’S CAUSES OF ACTION DOES
                       NOT EXIST

               Contrary to Defendants’ contentions claimed in the Notice of Removal, Risoboro’s

Complaint does not raise any Federal Question and therefore Removal was improper. Generally

speaking, “Federal courts have original subject matter jurisdiction ... [in] case[s] arising under

federal law.” Franklin H. William Trust v. Travelers Ins. Co., 50 F.3d 144, 147 (2d Cir. 1995)

(citing 28 U.S.C. § 1331). “Most directly, a case arises under federal law when federal law creates

the cause of action asserted.” Gunn v. Minton, 568 U.S. 251, 257 (2013). “But even when ‘a claim

finds its origins’ in state law, there is ‘a special and small category of cases in which arising under

jurisdiction still lies.’” Merrill Lynch, Pierce, Fenner & Smith Inc. v. Manning, 136 S. Ct. 1562,

1569–70 (2016) (citation omitted). “[T]he mere need to apply a federal law in a state-law claim

will [not] suffice to open the ‘arising under’ door.” Grable & Sons Metal Prods., Inc. v. Darue

Eng'g & Mfg., 545 U.S. 308, 313 (2005). Rather, federal jurisdiction is “confined ... to those

[claims] that ‘really and substantially involv[e] a dispute or controversy respecting the validity,




                                                  -4-
construction or effect of [federal] law.’ ” Id. (quoting Schulthis v. McDougal, 225 U.S. 561, 569

(1912)) (second alteration in original).

               As the parties seeking removal, Defendants have the burden of establishing that

removal was proper. United Food & Commercial Workers Union. Local 919 AFL-CIO v.

CenterMark Properties Meriden Square, Inc., 30 F.3d 298, 301 (2d Cir. 1994) (“[T]he party

asserting jurisdiction bears the burden of proving that the case is properly in federal court ....”);

Grimo v. Blue Cross/Blue Shield, 34 F.3d 148, 151 (2nd Cir. 1994); Curtin v. Port Authority of

N.Y., 183 F. Supp. 2d 664, 667 (S.D.N.Y. 2002). This burden is a heavy one because “[r]emoval

statutes are construed narrowly and all uncertainties are resolved in favor of remand in order to

promote the goals of federalism, restrict federal court jurisdiction, and support the plaintiff's right

to choose the forum.” Curtin, 183 F. Supp. 2d at 667; accord Somlyo v. J. Lu-Rob Enter., Inc., 932

F.2d 1043, 1045-46 (2d Cir. 1991); Stamm v. Barclays Bank of N.Y. No. 96 Civ. 5158 (SAS), 1996

WL 614087, at 1 (S.D.N.Y. 1996).

               “[F]ederal jurisdiction over a state law claim will lie if a federal issue is: (1)

necessarily raised, (2) actually disputed, (3) substantial, and (4) capable of resolution in federal

court without disrupting the federal-state balance approved by Congress.” Gunn, 568 U.S. at 258.

“Only ‘[w]hen all four of these requirements are met’ will federal jurisdiction be appropriate over

a state-law claim.” PCVST Mezzco 4, LLC v. Wachovia Bank Commercial Mortgage Trust 2007-

C30, No. 14 Civ. 6023 (AJN), 2015 WL 153048, at 3 (S.D.N.Y. Jan. 12, 2015) (quoting Gunn,

568 U.S. at 254). None of the four requirements are met here.

               A plaintiff is the master of his claim. See Caterpillar Inc. v. Williams, 482 U.S. 386,

391-93 (1987) (defining the “well-pleaded-complaint rule” and recognizing that the rule “makes

the plaintiff the master of the claim”); Phillips Petroleum Co. v. Texaco, Inc., 415 U.S. 125, 127-




                                                  -5-
28 (1974) (“The federal questions ‘must be disclosed upon the face of the complaint, unaided by

the answer.’ Moreover, ‘the complaint itself will not avail as a basis of jurisdiction in so far as it

goes beyond a statement of the plaintiff's cause of action and anticipates or replies to a probable

defense.’ ”), Taylor v. Anderson, 234 U.S. 74, 75-76 (1914) (same); see also Vitarroz Corp. v.

Borden, Inc., 644 F.2d 960, 964 (2d Cir. 1981) (“[T]he existence of a federal question must appear

on the face of a complaint.”).

                       [T]he plaintiff may by the allegations of his
                       complaint determine the status with respect to
                       removability of a case ... when it is commenced, and
                       that this power to determine the removability of his
                       case continues with the plaintiff throughout the
                       litigation, so that whether such a case nonremovable
                       when commenced shall afterwards become
                       removable depends not upon what the defendant may
                       allege or prove or what the court may, after hearing
                       upon the merits, in invitum, order, but solely upon
                       the form which the plaintiff by his voluntary action
                       shall give to the pleadings in the case as it progresses
                       towards a conclusion.

Great Northern Ry. Co. v. Alexander, 246 U.S. 276, 282 (1918); see also 14B Charles Alan Wright,

et al., Federal Practice & Procedure § 3721 (“[T]he state-court plaintiff is the master of his claim,

which means that if he chooses not to assert a federal claim, or fails to join a party who could

remove the entire action, or does join a nondiverse party, the defendant cannot remove the action

to federal court on the ground that an alternative course of conduct that would have permitted

removal of the case was available to the plaintiff.”).

A.     No Federal Claim is Asserted

               As a threshold matter, the Action asserts no federal claim. Riseboro does not plead

a cause of action under Section 42, nor does Section 42 provide for one. The Complaint asserts

state law claims for declaratory injunction and breach of contract, which requires the Court to

interpret the Restated Agreement. While interpretation of the Restated Agreement will require a


                                                 -6-
review of Section 42, none of the causes of action assert a direct claim under Section 42 and the

language of Section 42 does not provide for such a claim.

B.     No “Actually Disputed” Federal Issue is “Necessarily Raised” by Plaintiffs’ Causes of
       Action

               As recently held by this Circuit: “A state-law claim ‘necessarily’ raises federal

questions where the claim is affirmatively ‘premised’ on a violation of federal law.” N.Y. ex rel.

Jacobson v. Wells Fargo Nat'l Bank. N.A., 824 F.3d 308, 315–16 (2d Cir. 2016) (citation omitted).

Similarly, “state law claims predicated on ... violations of obligations rooted exclusively in federal

law” necessarily raise federal issues. Varga v. McGraw Hill Fin., Inc., 36 F. Supp. 3d 377, 382

(S.D.N.Y. 2014).

                       By contrast, a complaint does not “necessarily raise”
                       a federal question when it “ ‘assert[s] purely state-
                       law causes of action’ that do not require ‘binding
                       legal determinations of rights and liabilities under
                       [federal law].’ ” Merrill Lynch, 136 S. Ct. at 1576
                       (Thomas, J., concurring) (quoting Matsushita Elec.
                       Indus. Co. v. Epstein, 516 U.S. 367, 382, 384 (2016)
                       ). “Courts in this Circuit have made clear that the
                       exercise of federal jurisdiction is inappropriate
                       where ‘no cause of action ... necessarily stands or
                       falls based on a particular application of federal law.’

                                                 …

                       Moreover, the fact that a contract incorporates a
                       definition from federal law does not, in itself, mean
                       that the contract “necessarily raises” a federal issue.

CWCapital Cobalt VR Ltd. v CWCapital Investments LLC, 17 CIV. 9463 (GBD), 2018 WL

2731270, at 3 (SDNY May 23, 2018).

               This Action pleads four state law claims and Section 42 is only cited as a point of

reference in support of Plaintiff’s interpretation of the ROFR. Plaintiff’s reference to Section 42

does not necessarily raise a federal issue because to the extent that Plaintiff’s Causes of Action



                                                 -7-
invoke Section 42, they do so to illuminate a contractual agreement rather than question Section

42 itself. “At most, [the causes of action] require[] the court to ‘apply federal law in a state-law

claim,’ which ‘will [not] suffice to open the arising under’ door.” CWCapital Cobalt, 2018 WL

2731270, at 3, quoting Grable, 545 U.S. at 313; Veneruso v. Mount Vernon Neighborhood Health

Ctr., 933 F. Supp. 2d 613, 622, 2013 WL 1187445 (S.D.N.Y. 2013) (“The ‘mere presence’ of a

federal issue in a state cause of action does not confer federal jurisdiction.)

               Plaintiff’s first cause of action for a declaratory judgment as to whether the

Agreement contains a condition precedent for Plaintiff to exercise its ROFR is plainly devoid of

any federal issue. This cause of action requires nothing more than a reading of the Restated

Agreement’s plain language. Even a cursory reading of the first cause of action reveals that no

federal issues are raised. Contract interpretation, and the rights and liabilities raised by contracts,

such as the Restated Agreement is a state-law claim. At most, the inclusion of Section 42 in the

first cause of action requires the court to “apply federal law in a state-law claim”, and as in

CWCapital Cobalt, such application does not suffice to impose federal question jurisdiction.

CWCapital Cobalt, 2018 WL 2731270, at 3, quoting Grable, 545 U.S. at 313. Further, as the

District Court went on to hold in CWCapital Cobalt, “the fact that a contract incorporates a

definition from federal law does not, in itself, mean that the contract “necessarily raises” a federal

issue. CWCapital Cobalt, 2018 WL 2731270, at 4. Similarly, here, the fact that the pleadings

reference the definition of a federal law cannot rise to the level of raising a federal issue.

               Riseboro’s second cause of action seeks a declaratory judgment as to whether the

ROFR is to be interpreted solely under New York common law likewise does not necessarily raise

a federal issue. By untethering the ROFR from New York common law, in an effort to interpret

the Agreement in a manner that is consistent with Section 42, Riseboro does not allege a claim




                                                  -8-
“rooted exclusively in federal law.” Varga, 36 F. Supp. 3d at 382. On the contrary, Riseboro merely

asserts that the Agreement’s incorporation of Section 42, together with its omission of common-

law condition precedents to trigger a right of first refusal (such as a willing seller and a bona-fide

third party offer) yields a right of first refusal that is separate and distinct from a common law right

of first refusal. In other words, the subject right of first refusal is a distinct product of interpreting

the Restated Agreement which is governed by New York law and it is not a product of questioning

a federal law or issue.

                Riseboro’s third and fourth causes of action for specific performance or monetary

damages as a result of Defendants having breached the Restated Agreement do not necessarily

raise a federal issue. Both causes of action are pure state law claims that are resolved upon the

application of the judgments fashioned for the Plaintiff’s first and second causes of action.

                None of Plaintiff’s causes of action necessarily raise a federal question. The parties,

at most, dispute whether the ROFR should be read to be consistent with Section 42 and therefore

such claims do not “suffice to open the ‘arising under’ door.” Grable, 545 U.S. at 313; see also

CWCapital Cobalt VR Ltd., 2018 WL 2731270, at 3 (“In other words, the parties' dispute is not

over the “validity, construction, or effect of [federal] law,” but whether the facts of the particular

transaction—i.e., the Fortress-SoftBank merger—is covered by that law”).

C.      The Instant Action Does Not Present Any Substantial Federal Issues

                As previously stated, in order to invoke federal jurisdiction on removal a

substantive federal issue must exist within the case.

                “[F]ederal jurisdiction demands not only a contested federal issue, but a substantial

one.” Grable, 545 U.S. at 313. Thus, the “‘mere presence’ of a federal issue in a state cause of

action does not confer jurisdiction.” Veneruso (quoting Merrell Dow Pharms. Inc. v. Thompson,

478 U.S. 804 813 (1986)).


                                                   -9-
                       “The substantiality inquiry ... looks instead to the
                       importance of the issue to the federal system as a
                       whole.” Gunn, 568 U.S. at 260; see also Liana
                       Carrier Ltd. v. Pure Biofuels Corp., 672 Fed.Appx.
                       85, 92 (2d Cir. 2016) (finding that when “resolution
                       of the issue would be relevant only to these parties,
                       the issue ... is not substantial enough to trigger
                       federal jurisdiction over ... [a] fundamentally state
                       law cause of action”).

                                                  …

                       An issue may be substantial if it “present[s] a nearly
                       ‘pure issue of law,’ one that could be settled once and
                       for all and would govern numerous ... other cases.”
                       Empire, 547 U.S. at 700 (citations omitted). By
                       contrast, issues that have “ ‘fact-bound and situation-
                       specific’ effects are not sufficient to establish federal
                       arising under jurisdiction.” Gunn, 568 U.S. at 263
                       (quoting Empire, 547 U.S. at 701). When “the result
                       [of a case] would be limited to the parties ... before
                       the state court,” the “possibility that a state court will
                       incorrectly resolve a state claim is not, by itself,
                       enough to trigger the federal courts' ... jurisdiction,
                       even if the potential error finds its root in a
                       misunderstanding of [federal] law.” Gunn, 568 U.S.
                       at 263; see also Congregation Machna Shalva
                       Zichron Zvi David v. U.S. Dep't of Agriculture, 557
                       Fed.Appx. 87, 90 (2d Cir. 2014) (affirming dismissal
                       for lack of jurisdiction where “[t]he determination at
                       issue ... is a fact-specific application of [federal]
                       regulations to [plaintiff] that does not implicate the
                       validity of the regulations themselves, or have any
                       other broader effect on federal interests”). “Even if a
                       federal law might provide guidance in adjudicating
                       [a plaintiff’s] claims, that is not a sufficient basis
                       upon which to confer federal jurisdiction.” In re
                       Reserve Fund Secs. & Deriv. Litig., 2009 WL
                       3634085, at *5.

CWCapital Cobalt, 2018 WL 2731270, at 3.

               Here, Defendants make two arguments as to why this action allegedly involves

“substantial” federal issues, neither are effective:




                                                  -10-
                       The federal issue is substantial as has a National
                       scope and applies to hundreds or thousands of
                       multifamily low-income housing developments
                       nationwide that are financed by private investors
                       under the LIHTC program who have granted rights
                       to acquire property to a federally qualified non-profit
                       organization under Section 42(i)(7). and

                       the federal issue is substantial as it requires clear and
                       uniform interpretation and application, pursuant to
                       Congressional intent, regulations, implemented by
                       the Internal Revenue Service, and regulatory
                       guidance issued by the Internal Revenue Service
                       consistent with state law and contract rights;

Markowitz Declaration, at Exhibit “B”, Notice of Removal, ¶¶ 19 and 20.

               Defendants argument regarding the national scope of this action is misplaced. This

action is, at its very essence, a breach of contract action. As such, contract actions must interpret

the contract based on the language of the individual agreement. The language found in the

Restated Agreement is likely different then virtually every other LIHTC operating agreement. The

implications of interpreting the Restated Agreement here are clearly limited to the language subject

to the interpretation. Here again, while Section 42 may be used as an interpretive devise, and

interpretation of the contract language at issue may turn on a reading of Section 42, this does not

implicate a substantive federal issue requiring adjudication in the Federal Courts. Liana Carrier

Ltd. v. Pure Biofuels Corp., 672 F. App'x 85, 92, Fed. Sec. L. Rep. P 99470, 2016 WL 7107481

(2d Cir. 2016) (summary order) (finding that when “resolution of the issue would be relevant only

to these parties, the issue ... is not substantial enough to trigger federal jurisdiction over ... [a]

fundamentally state law cause of action”.)

               Further underlying the local State rather than Federal nature of the action, the

LIHTC tax credits that Plaintiffs are using to underscore their federal substantive issue argument,




                                                 -11-
are federally allocated tax credits that are administered by the States through State Housing

Finance Agencies (“HFA”). As stated by the United States Government Accountability Office:

              IRS relies on [State] HFAs to administer and oversee the LIHTC
              program in their states. In addition to awarding tax credits to
              qualified projects, HFAs are responsible for:

                 determining the amount of credit needed for the financial
                  feasibility of each project and its viability as a qualified low-
                  income housing project through the 10-year credit period. HFAs
                  make determinations (1) when the application is received, (2)
                  when the allocation of the credit is completed, and (3) when the
                  building is placed in service and the taxpayer submits a final cost
                  certification.

                 monitoring LIHTC properties for compliance with program
                  requirements (for example, health and safety standards, rent
                  ceilings, income limits, and tenant qualifications). Findings
                  from HFA monitoring are provided to IRS on noncompliance or
                  building disposition (form 8823). Taxpayer noncompliance with
                  LIHTC requirements may result in IRS denying claims for the
                  credit in the current year or recapturing—taking back—credits
                  claimed in prior years.

              Once IRS monitoring of LIHTC projects ends after year 15,
              HFAs have sole authority to monitor compliance for at least
              another 15 years, and the taxpayer must ensure that the project
              continues to meet program requirements, as defined in the
              project’s extended use agreement with the HFA. If a project
              were found to be noncompliant, the HFA could take action, such
              as litigation under state law.

U.S. Gov’t Accountability Off., Gao-15-330, Low-Income Housing Tax Credit: Joint IRS-HUD

Administration Could Help Address Weaknesses In Oversight 1 N.1 (2015) (emphasis added). See

also Brandon M. Weiss, Residual Value Capture in Subsidized Housing, 10 Harv L & Pol'y Rev

521, 534 (2016) (“The IRS, however, leaves it to states to conduct all compliance and enforcement

after Year-15…)

              Indeed, the LIHTC program was specifically designed to divest the federal

government of all administrative, compliance, and supervisory powers to State agencies



                                                -12-
(especially after Year 15), who in turn were work with local organizations to fulfill community

development objectives – all of which are different from city to city and from state to state and,

therefore, this Action, even if considering LIHTC as a point of reference, does not raise a

substantial federal issue.

D.     The Exercise of Jurisdiction Would Disrupt the Federal State Balance

               As the Second Circuit held in Liana Carrier:

                       Respect for the state-federal balance also inclines
                       against attachment of federal question jurisdiction on
                       the facts of this case. It is uncontested that Plaintiffs-
                       Appellants’ state law cause of action is structured as
                       a run-of-the-mill state law contract claim, governed
                       by state law standards and analyzed using the
                       familiar elements applied in a New York breach of
                       contract action. The fact that the state court’s
                       analysis of breach will necessarily turn on the
                       requirements of federal securities law does not
                       change the underlying nature of Plaintiffs-
                       Appellants’ claims, which are determined as a matter
                       of course by the state courts every day – and whose
                       resolution of any embedded federal issue, if decisive
                       to the case, would ultimately be subject to possible
                       Supreme Court review. The Supreme Court has
                       consistently made clear “the need to give due regard
                       to the rightful independence of state governments –
                       and more particularly, to the power of the States to
                       provide for the determination of controversies in
                       their courts,” and, though the underlying federal law
                       issue is generally subject to exclusive federal
                       jurisdiction, our “concern for state court prerogatives
                       [does not] disappear ... in the face of a statute
                       granting exclusive federal jurisdiction.” Merrill
                       Lynch, Pierce, Fenner & Smith Inc. v. Manning, –––
                       U.S. ––––, 136 S.Ct. 1562, 1573, 194 L.Ed.2d 671
                       (2016). Thus, because there is no clear indication
                       either that the federal question at issue in this case
                       is substantial, or that it is particularly important
                       to maintaining the federal-state balance that we
                       claim jurisdiction over Plaintiffs-Appellants’
                       contract claim, federal question jurisdiction does
                       not lie.



                                                  -13-
(Emphasis supplied.) Liana Carrier Ltd., 672 F. App'x 85, 92, 2016 WL 7107481. Similarly, here,

this action presents causes of action sounding in breach of contract. Simply because the State

Court may need to consider the definition of “offer” under Section 42, the underlying nature of the

claim is not changed and does not present a substantial federal issue or a federal question.

Accordingly, this action must be remanded to State Court.

                                              POINT II

                        COMPLETE DIVERSITY DOES NOT EXIST
                        IN THIS ACTION AND THEREFORE THE
                        ACTION CANNOT BE REMOVED BASED ON
                        DIVERSITY

                Defendants attempt to argue that the Court has subject matter jurisdiction over this

action on the basis of diversity. For this argument, Defendant argues that the Court must disregard

the citizenship of 420 LP. This argument is patently false as 420 LP’s pecuniary interests are at

issue in this action.

                “Diversity jurisdiction exists where the parties are citizens of different states and

the amount in controversy exceeds $75,000.” Ceglia v. Zuckerberg, 772 F.Supp.2d 453, 455

(W.D.N.Y. 2011). “‘[C]itizens of different States’ means that there must be complete diversity,

i.e., that each plaintiff's citizenship must be different from the citizenship of each defendant.”

Hallingby v. Hallingby, 574 F.3d 51, 56 (2d Cir. 2009); see Doctor's Assocs., Inc. v. Distajo, 66

F.3d 438, 445 (2d Cir. 1995) (“It is a long-settled rule that in order to invoke diversity jurisdiction,

the petitioner must show ‘complete diversity’—that is, that it does not share citizenship with any

defendant.”) “For purposes of determining diversity, 28 U.S.C. § 1332(c) provides that ‘a

corporation shall be deemed to be a citizen of any State by which it has been incorporated and of

the State where it has its principal place of business.’” Sty–Lite Co. v. Eminent Sportswear Inc.,




                                                  -14-
115 F.Supp.2d 394, 398 (S.D.N.Y. 2000). It is undisputed that for purposes of Federal Jurisdiction

that 420 LP is a citizen of New York State.

               The party that removes the action to federal court has a heavy burden of proving by

clear and convincing evidence that a court should disregard the citizenship of a non-diverse party,

by setting forth one of the following: (a) “that there has been outright fraud committed in the

plaintiff's pleadings, or” (b) “that there is no possibility based on the pleadings that a plaintiff can

state a cause of action against the non-diverse defendants in state court.” See New York State Ins.

Fund v. U.S. Liability Ins. Co., 2004 WL 385033 at 2 (not reported in F. Supp.) (citing Pampillonia

v. RJR Nabisco, Inc., 138 F.3d 459 (2d Cir.1998)).

               Defendants have not alleged in their Notice of Removal that Plaintiff has committed

any fraud in naming 420 LP as a party defendant. Instead, based on an incomplete quote from the

Complaint, alleges that 420 LP is a nominal defendant and therefore its citizenship can be

disregarded. 420 LP is the owner of the real property ultimately at issue in this action. 420 LP is

the owner of the property which Plaintiff hopes to purchase via specific performance, the pleadings

expressly state that LP’s “interest will be affected by the outcome of this action.” It is axiomatic

that the party which may lose ownership of all or substantially all its assets has a “real connection

to the action.” Allied Programs Corp. v. Puritan Insurance Co., 592 F.Supp. 1274, 1276

(S.D.N.Y.1984). Indeed, the Defendants failed to show, “with specificity that the facts as stated in

the complaint, under the present law of the forum state, form no basis for recovery against the

defendant who defeats diversity.” Truglia v. KFC Corp., 692 F.Supp 271, 275 (S.D.N.Y. 1988).

As such, any judgment rendered in this action clearly and undeniably affects the rights of 420 LP,

420 LP’s pecuniary interest, and its ability to own and control real property and therefore it is

much more than a nominal party whose citizenship can be disregarded for purposes of diversity.




                                                  -15-
Accordingly, diversity jurisdiction cannot provide the Defendants with an independent reason to

remove this action from the State Court and therefore this action must be remanded back to the

New York State Court.

                                         CONCLUSION

               For all of the reasons set forth herein, Plaintiff respectfully request that the Court

remands this Action to the Supreme Court of the State of New York, Kings County and award

such other and further relief as the Court deems just proper and equitable.

Dated: New York, New York
       January 22, 2019


                                      GOLDSTEIN HALL PLLC
                                      Attorneys for Riseboro Community Partnership Inc.
                                      80 Broad Street, Suite 303
                                      New York, New York 10004
                                      (646) 768-4127


                                      By:    S/ BRIAN J. MARKOWITZ
                                            BRIAN J. MARKOWITZ (BM-9640)
                                            DANIEL GOLDENBERG (DG-1337)




                                                -16-
